                           Exhibit A
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             EXHIBIT A TO THE DECLARATION OF SCOTT H. M CNUTT


Scott H. McNutt is a sole practitioner with more than thirty-five years of experience in
significant bankruptcy matters. Mr. McNutt received a Bachelor of Arts from Yale College in
1978 and a Juris Doctor from the University of California, Davis School of Law, where he was a
member of the Board of Editors for the U.C. Davis Law Review, in 1982. Mr. McNutt was
admitted to the Bar in 1982 and is licensed to practice in California as well as the U.S. District
Court for the Northern, Eastern, Southern and Central Districts of California. From 1998 through
2018, Mr. McNutt was the managing partner of McNutt Law Group, LLC, one of San
Francisco’s premier bankruptcy boutiques. Prior to founding McNutt Law Group, Mr. McNutt
was a partner at the firm of Severson & Werson, and an associate at the firm of Sidley & Austin.
Mr. McNutt currently teaches Corporate Reorganizations as an adjunct professor at the
University of California, Davis School of Law. Mr. McNutt served as Law Clerk to the
Honorable William J. Rea of the United States District Court, Central District of California from
1984-1986 and served as Law Clerk to the Honorable John D. Ayer of the United States
Bankruptcy Court, Central District from 1983–1984. Mr. McNutt's professional affiliations
include the State Bar of California where he was Vice President, Board of Governors from 2001-
2002, Secretary of the Executive Committee of the Business Law Section from 1998-1999 and
Chair of the Debtor/Creditor Relations Committee of the Business Law Section from 1996-1997.




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